AO 245D (Rev 11/16) Judgment in a Criminal Case for Revocations
                    Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                            District of New Mexico

                  UNITED STATES OF AMERICA                               Judgment in a Criminal Case
                                                                         (For Revocation of Probation or Supervised Release)
                                    V.
                             Daisy Alaniz                                Case Number: 1:13CR01551-001JB
                                                                         USM Number: 72227-051
                                                                         Defendant’s Attorney: Stephen P. McCue, Appointed

THE DEFENDANT:

☒     admitted guilt to violations of condition(s) Mandatory, Standard of the term of supervision.
☐     was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                 Violation Ended

Mandatory Condition              The defendant failed to refrain from any unlawful use of a          10/03/2016
                                 controlled substance.


The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has not violated condition(s) and is discharged as to such violation(s).

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

7031                                                                    February 27, 2017
Last Four Digits of Defendant’s Soc. Sec. No.                           Date of Imposition of Judgment


1986                                                                    /s/ James O. Browning
Defendant’s Year of Birth                                               Signature of Judge




                                                                        Honorable James O. Browning
Albuquerque, NM                                                         United States District Judge
City and State of Defendant’s Residence                                 Name and Title of Judge

                                                                        March 7, 2017
                                                                        Date
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                                                      ADDITIONAL VIOLATIONS
Violation Number                 Nature of Violation                                            Violation Ended

Standard Condition               The defendant failed to report to the probation officer in a   11/05/2016
                                 manner and frequency directed by the court or probation
                                 officer.
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                    Sheet 2 - Imprisonment



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                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 4
months .

For the reasons stated on the record at the hearing held February 27, 2017, the Court varies downward.

☐ The court makes the following recommendations to the Bureau of Prisons:




☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on .
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on .
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                   at                                with a certified copy of this judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
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                    Sheet 3 Supervised Release                                                                              Judgment - Page 4 of 7



DEFENDANT: Daisy Alaniz
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                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 6 months .

                                             MANDATORY CONDITIONS OF SUPERVISION

1.  You must not commit another federal, state, or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
    imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
              future substance abuse. (Check, if applicable.)
4. ☒ You must cooperate in the collection of DNA as directed by statute. (Check, if applicable)
5. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state, local, or tribal sex offender registration agency in which you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. ☐ You must participate in an approved program for domestic violence prevention. (Check, if applicable)
7. ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution, fines,
    or special assessments.

                                              STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
     from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
     probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
     from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
     you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
     not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
      of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation
      officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
      getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
      you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
      confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
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                    Sheet 5 – Special Conditions                                                Judgment - Page 6 of 7


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                                           SPECIAL CONDITIONS OF SUPERVISION

You must participate in and successfully complete a community-based program which provides
education and training in parenting.

You must not use or possess alcohol.

You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive
substances (e.g., synthetic marijuana, bath salts, etc.) that impair your physical or mental functioning,
whether or not intended for human consumption.

You must not possess, sell, offer for sale, transport, cause to be transported, cause to affect interstate
commerce, import, or export any drug paraphernalia, as defined in 21 U.S.C. 863(d).

You must participate in a mental health treatment program and follow the rules and regulations of that
program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program. You may be required to pay all, or a portion, of the costs of the program.

You must not communicate, or otherwise interact, with codefendant(s)/coconspirator(s) without prior
approval of the probation officer.

You must reside in a residential reentry center for a term of 3 months. You must follow the rules and
regulations of the center.

You must not communicate, or otherwise interact, with the victim(s), either directly or through someone
else without prior approval of the probation officer.

You must participate in an outpatient substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.). You may be required to pay all, or a portion, of
the costs of the program.

You must participate in an inpatient substance abuse treatment program. Following completion of the
inpatient program, you must participate in an outpatient substance abuse treatment program. You must
follow the rules and regulations of both programs, and the probation officer will supervise your
participation in both of these programs (provider, location, modality, duration, intensity, etc.). You may
be required to pay all, or a portion, of the costs of these programs.

You must submit to substance abuse testing to determine if you have used a prohibited substance. You
must not attempt to obstruct or tamper with the testing methods. You may be required to pay all, or a
portion, of the costs of the program.

You must submit to a search of your person, property, residence, vehicle, papers, computers (as defined
in 18 U.S.C. 1030(e)(1)), other electronic communications or data storage devices or media, or office
under your control. The probation officer may conduct a search under this condition only when
reasonable suspicion exists, in a reasonable manner and at a reasonable time, for the purpose of detecting
alcohol, controlled substances, weapons and another other contraband at the discretion of the probation
office . You must inform any residents or occupants that the premises may be subject to a search.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.




   Defendant’s Signature                                                                      Date
